           Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 1 of 9




                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION


   THROUGHPUTER, INC.,
                                                             Case No. 1:22-CV-01095-RP
                     Plaintiff,
             v.                                              JURY TRIAL DEMANDED

   AMAZON WEB SERVICES, INC.,
                     Defendant.

                         PROPOSED SCHEDULING ORDER AND
                    JOINT DISCOVERY PLAN PURSUANT TO RULE 26(f)

        Pursuant to Federal Rule of Civil Procedure 16, Plaintiff ThroughPuter, Inc.

(“ThroughPuter”) and Defendant Amazon Web Services, Inc. (“Amazon”) respectfully submit the

following Proposed Scheduling Order, which contains certain modifications to the Court’s

Proposed Scheduling Order, and Joint Discovery Plan Pursuant to Rule 26(f) to the Court. For the

Court’s convenience, the parties provide a chart of the proposed schedule in Exhibit A.
        1.        ThroughPuter served its complaint on Amazon on October 31, 2022. Thereafter,
ThroughPuter agreed to extend Amazon’s deadline to respond to the complaint through January
5, 2023. On January 5, 2023, Amazon filed a Rule 12(b)(6) Motion to Dismiss the entirety of this
action. ThroughPuter’s response is due January 26, 2023, and Amazon’s reply is due February
9, 2023.

        2.        A report on alternative dispute resolution in compliance with Local Rule CV-88
shall be filed on or before March 1, 2024.

        3.        The parties asserting claims for relief shall submit a written offer of settlement to

opposing parties on or before March 8, 2024, and each opposing party shall respond, in writing,

on or before March 15, 2024. All offers of settlement are to be private, not filed. The parties are

ordered to retain the written offers of settlement and responses so the Court may use them in

assessing attorney’s fees and costs at the conclusion of the trial.


                                                    1
           Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 2 of 9




       4.      Each party shall complete and file the attached “Notice Concerning Reference to

United States Magistrate Judge” on or before January 30, 2023.

       5.      The parties will exchange initial disclosures by February 28, 2023. The parties do

not request changes in the form or requirement for disclosures under Rule 26(a)(1)(A).
      6.       The following schedule shall apply to claim construction proceedings in this case:

               a.      On June 1, 2023, the parties shall concurrently exchange a list of claim

      terms a party believes should be construed by the Court and identify any claim element a

      party contends should be governed by 35 U.S.C. § 112(f).
               b.      On June 22, 2023, the parties shall concurrently exchange proposed

      constructions.

               c.      On June 29, 2023, the parties shall disclose extrinsic evidence, including

      the identity of any expert witness they may rely upon with respect to claim construction or

      indefiniteness. With respect to any expert identified, the parties shall identify the scope of

      the topics for the witness’s expected testimony. With respect to items of extrinsic evidence,

      the parties shall identify each such item by production number or produce a copy of any

      such item if not previously produced.

               d.      On July 7, 2023, the parties shall meet and confer to narrow terms in dispute

      and exchange revised lists of terms and proposed constructions, if any.

               e.      On July 20, 2023, Defendant shall file its Opening Claim Construction

      Brief, with supporting evidence, including any declarations of expert witnesses in support

      of claim construction. The page limit for the Opening Claim Construction Brief shall be 20

      pages, exclusive of the caption, signature block, any certificate, and exhibits.

               f.      On August 10, 2023, Plaintiff shall file its Responsive Claim Construction

      Brief with supporting evidence, including any responsive declarations of expert witnesses in

      support of its responsive positions. The page limit for the Responsive Claim Construction

      Brief shall be 20 pages, exclusive of the caption, signature block, any certificate, and exhibits.



                                                  2
         Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 3 of 9




               g.      On August 24, 2023, Defendant shall file its Reply Claim Construction

       Brief. The page limit for the Reply Claim Construction Briefs shall be 10 pages, exclusive

       of the caption, signature block, any certificate, and exhibits.

               h.      On September 7, 2023, Plaintiff shall file its Sur-Reply Claim Construction

       Brief. The page limit for the Sur-Reply Claim Construction Brief shall be 10 pages, exclusive

       of the caption, signature block, any certificate, and exhibits.

               i.      Claim Construction Hearing: October___, 2023
       7.      The parties shall file all motions to amend or supplement pleadings or to join

additional parties on or before July 30, 2023.
       8.      The parties shall complete all fact discovery on or before December 7, 2023.

       9.      All parties with the initial burden of proof shall exchange opening expert reports

(all materials required by Federal Rule of Civil Procedure 26(a)(2)(B)) on or before January 18,

2024. The parties shall exchange rebuttal expert reports (all materials required by Federal Rule of

Civil Procedure 26(a)(2)(B)) on or before February 22, 2024.

       10.     The parties shall complete all expert discovery on or before March 22, 2024.

       11.     All dispositive motions shall be filed on or before April 11, 2024. An objection to

the reliability of an expert’s proposed testimony under Federal Rule of Evidence 702 shall be

made by motion (i.e., Daubert motion), specifically stating the basis for the objection and

identifying the objectionable testimony, at the same time, on or before April 11, 2024. Each such

motion shall be limited to 25 pages. Responses shall be filed and served on all other parties not

later than 14 days after the service of the motion and shall be limited to 25 pages. Any replies

shall be filed and served on all other parties not later than 7 days after the service of the response

and shall be limited to 10 pages, but the Court need not wait for the reply before ruling on the

motion. Nothing herein prevents a party from filing multiple dispositive and/or Daubert motions,

provided that such motions meet the requirements provided herein.

       12.     The parties shall serve pretrial disclosures under Local Rule CV-16(f)(1)-(8)

(proposed voir dire questions; a statement of the party’s claims and defenses; list of stipulated

                                                   3
         Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 4 of 9




facts; identification of expects to use and may use exhibits; identification of expects to call and

may call witnesses; deposition designations; proposed jury instructions and verdict forms;

Proposed Findings of Fact and Conclusions of Law) by May 16, 2024. The parties shall serve

objections to pretrial disclosures and rebuttal disclosures by June 6, 2024. The parties shall serve

objections to rebuttal disclosures by June 20, 2024. The parties shall file pretrial disclosures,

rebuttal disclosures and objections by June 27, 2024.

       13.     The parties shall file motions in limine by June 27, 2024. The parties shall serve

oppositions to motions in limine by July 11, 2024.

       14.     The Court will set this case for final pretrial conference at a later time. The final

pretrial conference shall be attended by at least one of the attorneys who will conduct the trial for

each of the parties and by any unrepresented parties. The parties should consult Local Rule CV-

16(e) regarding matters to be filed in advance of the final pretrial conference.

       15.     This case is set for ________ trial commencing at 9:00 a.m. on__________, 20__.

       16.     By filing an agreed motion, the parties may request that this Court extend any

deadline set in this Order, with the exception of the dispositive motions deadline and the trial date.

The Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if the parties do not

make timely submissions under this Order.

       17.     Other Agreements Regarding Discovery Pursuant to Rule 26(f):

               a.     Federal Rule 26(f)(3)(B): The parties anticipate discovery on all matters

       relevant to their pending claims and defenses. The parties believe that discovery should be

       conducted in phases, with expert discovery following the close of fact discovery.

               b.     Federal Rule 26(f)(3)(C): The parties are continuing to discuss terms and

       conditions for the preservation and production of documents and electronically stored

       information and the scope of electronic discovery.

               c.     Federal Rule 26(f)(3)(D): The parties anticipate confidential information

       will be exchanged in this case. The parties are therefore discussing a Protective Order and



                                                 4
  Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 5 of 9




intend to request entry of a stipulated protective order. To facilitate discovery and avoid

delay, the parties agree that, until a protective order is entered, if any document or

information produced in this matter is deemed confidential by the producing party, the

document shall be marked “confidential” or with some other confidential designation (such

as “Confidential – Outside Attorneys’ Eyes Only”) by the disclosing party and disclosure

of the confidential document or information shall be limited to each party’s outside

attorney(s) of record and the employees of such outside attorney(s) and support personnel

at their law firms.

        d.      Federal Rule 26(f)(3)(E): The parties do not presently believe any changes

should be made to the limitations on discovery beyond those imposed under the Federal

Rules of Civil Procedure and the Local Rules.

        e.      Federal Rule 26(f)(3)(F): At this time, the parties have not requested any

orders that the Court should issue under Rule 26(c) or Rule 16(b) and (c) but will be

requesting a Scheduling Order and Protective Order as discussed above.

        f.      The parties consent pursuant to Federal Rule of Civil Procedure 5(b)(2)(E)

that the parties may serve any document—including, for example, discovery requests,

discovery responses, and expert and other disclosures—on the other party by electronic

means, including but not limited to e-mail, FTP sites, or secure file-sharing services. The

parties agree that service on any party by e-mail shall be made on all counsel of record for

that party.




                                         5
        Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 6 of 9




Dated: January 23, 2023

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                                             6
       Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 7 of 9




SO ORDERED on _______, 2023




                                         ROBERT PITMAN
                                         UNITED STATES DISTRICT JUDGE




                                     7
          Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 8 of 9




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

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                         NOTICE CONCERNING REFERENCE TO
                         UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c), Federal Rule of Civil Procedure

73, and the Local Rules of the United States District Court for the Western District of Texas, the

following party ________________________________________________________________

through counsel _______________________________________________________________

      ___ consents to having a United States Magistrate Judge preside over the trial in this

      case.

      ___ declines to consent to trial before a United States Magistrate Judge.



                                                      Respectfully submitted,



                                                      Attorney for:




                                                 8
         Case 1:22-cv-01095-DAE Document 24 Filed 01/23/23 Page 9 of 9




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on January 23, 2023, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document through the

Court’s CM/ECF system.



                                                           /s/ W. Cook Alciati
                                                           W. Cook Alciati
